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1716-FAM Document 1-6 Entered on FLSD Docket 0

Case 1:20-cv-2 -

   

BE IT KNOWN, that

St 7
[Moma ..,.

made and appointed, and b these Presents does make and appoint
Lieabatbe Perenolde, °° : lawful attorney for
him/her and in hi

s/her name, place and Stead, for the following
Specific and limited Purposes only:

Make/Model: Psp ve A2ZlMur C Te Rouvo

VIN:

7hle AV mgeR: 24S Sva>

giving and granting saig at
do and perform all and eve
to be done in and about th
out herein) as fully, to
Could be done if Personal

torney, full Power and authority to
TY act and thing whatsoever necessary
© specific and limited premises (set

all intents and Purposes, as might or
ly present, with

full power of

 
  
   

 

 
  
 

‘anny 2
My Commission EE 219173
Expires 07/24/2016

    

State asc
My Commission mn . ove
e2o0f6
Case 1:20-cv-21716-FAM Document 1-6 Entered on FLSD Docket 04/24/2020 Pag

BILL OF SALE OF VESSEL

 

1/17/2015

Owner
VIOLET ADVISORS, S.A
PANAMA CITY

113 Paloma Central
REPUBLIC OF PANAMA

BUYER
EXCELLENT AUTO GROUP INC

775 West 83 Ave
Hialeah Fl 33014

 

For Sale of vessel} $200,000.00 As is Conditions buyer
ie Seat ED SERIAL 53610327/5361 0328, the name ship THe neawe AZIMUT 745127
\YMAN ISLANDS, August 15, 2014,Buyer Excellent Auto Group Inc or assigns has

Paid in full for this vessel,

 

 
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AL NOTICE

 

EGISTRATION RENEW

 

The Tax Collector's Office
is now located at
200 NW 2"? Ave
Miami 33128

{EGERMIDOATIONS DOES NOT QUALIFY FOR EXEMPTION. | CERTIFY THE RECREATIONAL VEHICLE, MOGILE HOME OR YESSEL OESCRIBED HAS
FLORIDA STATUTES. BY:

CONSUMERS CERTIFICATE OF EXEMPTION NUMBER —
(RICATE
a. SALES TAX REGISTRATION NUMBER > aaa

subject to Florieta Sales and Use Tax for the lollowing reasor: C mmersrance Oe

  

RENEW ONLINE:

www.miamidade.govitaxcollector

  

escribed on this application, is not

‘MARRIED COUPLE TRADE OR TRADE DOWN the facts of the even trade or trade down and the transferor information, including
ir Ce Coe vjerors name and address, below under “Other: Explain”

 

 

 

—__ REPOSSESSION DECLARATION _
IF CHECKED, THE FOLLOWING CERTIFICATIONS ARE MADE BY THE APPLICANT: : a
oO CERTIFY THAT THIS MOTOR VEHICLE, MOSILE HOME OR VESSEL WAS REPOSSESSED UPON DEFAULT IN THE TERMS OF THE LIEN INSTRUMENT AND IS NOW MY POSSESSION. oat &

oO (VESSEL) A PHOTOCOPY OF THE LIEN INSTRUMENT FOR THE VESSEL IS REQUIRED ANO ATTACHED. a.
G |/AM REQUESTING THAT AN ORIGINAL CERTIFICATE OF REPOSSESSION BE ISSUED FOR THE MOTOR VEHICLE OR MOBILE HOME IN LIEU OF A TITLE (REPOSSESSION). }
0 | AM REQUESTING THAT A DUPLICATE CERTIFICATE OF REPOSSESSION BE ISSUED FOR THE MOTOR VEHICLE OR MOBILE HOME, AS THE ORIGINAL HAS BEEN LOST OR DESTROYED. -

: |

 

 

tit WON-USE AND OTHER CERTIFICATIONS.
IF CHECKED, THE FOLLOWING CERTIFICATIONS ARE MADE BY THE APPLICANT:

0 1 CERTIFY THAT THE CERTIFICATE OF TITLE IS LOST OR DESTROYED.
0 THE VEHICLE IDENTIFIED WILL NOT BE OPERATED ON THE STREETS ANO HIGHWAYS OF THIS STATE UNTIL PROPERLY REGISTERED.
| THE VESSEL IDENTIFIED WILL NOT BE OPERATED ON THE WATERS OF THIS STATE UNTIL PROPERLY REGISTERED.

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EZ=— K
WWE PHYSICALLY INSPECTED THE ODOMETERIVIN ANO FURTHER AGREE TO DEFEND THE TITLE AGAINST ALL CLAIMS. (0 MV 8 b
UNDER PENALTIES OF PERJURY, | \T | HAVE READ THE FI GOING DOCUMENT AND THAT THE FACTS STATED INIT ARE TRUE.
3)2/201¥

SIGNATURE OF APPLICANT Daud SIGNATURE OF APPLICANT (CO-OWNER)
[43 I OF SPOUSE =
The undersigned person(s) state(s) as follaves: That died

; (Name of Deceased) - = x (Dae)
[3 testate (with a wi C7 intestate (without a wil) and left the surviving heir(s) named below.

Oo When applicable, the heir(s) (named below) certifies that the certificate of tide Is last or destroyed.
UNDER PENALTIES OF PERJURY, | DECLARE THAT | HAVE READ THE FOREGOING DOCUMENT AND THAT THE FACTS STATED IN IT ARE TRUE.
Btore tren one tere HEME EZB69 rwey be sped for achiral sicgrateres )

Print or Type Name of Spouse, Co-owner or Heir(s) io meas
‘Signature of Spouse, Co-Owner or |

 

 

 

 

 

 

That at the time of death the decedent was owner of the motor vehicie, mobile home or vessel described in section 2 of this farm. The person(s) signing hereby releases histherhbeir
heir(s) at law, legatee(s), devisee(s), or otherwise to the aforesaid motor vehicle, mobile hame or vessel ta: =< act wane

 

Name of Appiicant{s) (Print or Type)
RESIDENTS OF FLORIDA AND ALL VESSEL OWNERS, RESIDING IN FLORIDA OR OUT OF STATE, SHOULD SUBMIT THIS FORM AND ALL REQUIRED Ot
A LOCAL FLORIDA TAX COLLECTOR'S OFFICE OR THE FLORIDA TAX COLLECTOR'S OFFICE LOCATED IN THE APPLICANT'S COUNTY OF =
PROCESSING. <

Cneck your local phone book government pages or visit the following website for current mailing addresses: htto/hwew.fitsmy. gowoffices/

HSMV 82040-REV.11/15 RULE 45C-21.001, FAC
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“aR TICULARS OF SHIP. AND PORT OF
—- ” NAME OF SHIP
TOWN
‘THE ROUND 57 ES
NAME & OF BUILDERS TYPE
RMT BENETIIS@.A PLEASURE YACHT
VIA M. COPPINO, 104 ;
Se MATERIAL USED TO CONSTRUCT HULL
NUMBER, YEAR AND PORT OF PREVIOUS REGISTRY GF ANY) ||_GLASS REINFORCED PLASTIC
' DATE KEEL LAID
CZB0250 LEONARDO II PRAGUE aa
*RINCIPAL DIMENSIONS —
— 630 INTERNATIONAL TONNAGE CERTIFICATE (1969) ARE:
MOULDED DEPTH (m): 335 GROSS TONNAGE: 163
MOULDED DRAUGHT (m): 251 NET TONNAGE: 48
OVERALL LENGTH (m): 79.23 For ships under 24 metres length, the tonnage is the gross tonnage and net tonnage.

 

 

 

 

PARTICULARS OF ACCOMMODATION

NUMBER OF PASSENGERS FOR WHOM ACCOMMODATION IS PROVIDED:

 

 

ENGINE AND BOILER PARTICULARS

 

 

 

 

 

 

 

 

DESCRIPTION OF ENGINES ; ay
MTU FRE ESHAPEN GRAB No.
MTU MODEL 16V2000M91 SERIAL MAYBACHPLATZ 1 PF 2040 NO. OF SETS: | 2
NO: 53610327/53610328 $3040 FREEDRICHSHAFEN NO. OF SHAFTS: 2
NUMBER —<—<——
OF CYLINDERS IN EACH SET DIAMETER OF CYLINDERS (mm) = 2003 -
TH STROKE (ram)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Case 1:20-cv-21716-FAM Document 1-6 Entered on FLSD Docket 04/24/2020 Page 5 of 6

 
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OMB APPROVAL NO. 1651-0022
EXPIRATION DATE 01/31/2021

DEPARTMENT OF HOMELAND SECURITY
U.S. Customs and Border Protection

    
    
 
  
   
 
  
   
  
   
  
   
      

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

    
   
 
  

 

 

‘ ENTRY SUMMARY
4. Surety Number | 5. Bond Type 6. Port Code 7. €ntry Date
reat Pa [STB] At ifo12
f Origin 71. Import Date
ting Carer 9. Mode of Transport 10. Country o' oP _
& Importing Cal tert oe UIA | TR as mar TelavP ZB- -Z920 .
72. BL or AWB Number SMUT. ID 14. Exporting Country 15. Export Date
US
46. |.T. Number 17. |.T. Date | 18. Missing Docs 19. Foreign Port of Lasting “Ue Port of Uniading
2004 | CY6127 -
21. Location of Goods/G.O. Number | 22. Consignee Number 23. Importer Number 24. Reference Number
2. UI Delp Ie) DE. ch aiee ze Address 26. Importer of Record Name (Last, First, M./.) and Address
sweet Lot 72. Federal Hy Siee
ory Fom Pano State
frno Beach sie FL. 2» 38262) ciy ai ie
28. ipti a
fa 2 Description of Merchandise 32 i = =
No ; 30. A. Entered Value S Rate 3
é ADICVD Ne A Gross Weight] Net Qua ity i B. CHGS B. AD/CVD Rate Duty and IR Tax
o__|B Manifest Qty | HtsuSUrie | ©: Relationshi C.IRC
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35. Total Entered Valtis
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Ta coe BPUSE ONLY

B. Ascertained Duty
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NC
OO | © Ascertained Tax —

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